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10   IRICO GROUP CORP. and
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12
                               UNITED STATES DISTRICT COURT
13
                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
14
                                        OAKLAND DIVISION
15

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      IN RE: CATHODE RAY TUBE (CRT)                  Case No. 07-cv-05944-JST
17    ANTITRUST LITIGATION
                                                     MDL No. 1917
18
      THIS DOCUMENT RELATES TO:                      IRICO DEFENDANTS’ STATEMENT
19                                                   REGARDING INDIRECT PURCHASER
      ALL INDIRECT PURCHASER ACTIONS                 PLAINTIFFS’ ADMINISTRATIVE
20                                                   MOTION TO CONSIDER WHETHER
                                                     ANOTHER PARTY’S MATERIAL
21                                                   SHOULD BE SEALED PURSUANT TO
                                                     CIVIL LOCAL RULES 7-11 AND 79-5(f)
22                                                   (ECF NO. 6297)

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      IRICO STATEMENT REGARDING IPP ADMIN. MOT. TO                        CASE NO. 07-CV-05944-JST
      CONSIDER SEALING (ECF NO. 6297)                                                MDL NO. 1917
            Case 4:07-cv-05944-JST Document 6303 Filed 09/06/23 Page 2 of 2


1    TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:
2           On September 1, 2023, the Indirect Purchaser Plaintiffs (“Plaintiffs”) filed an
3    Administrative Motion to Consider Whether Another Party’s Material Should Be Sealed
4    Pursuant to Civil Local Rules 7-11 and 79-5(f), ECF No. 6297 (the “Motion”). Plaintiffs
5    reached out to defendants Irico Group Corp. and Irico Display Devices Co., Ltd. (“Irico”) only
6    immediately prior to filing the motion and, due to time constraints, Irico was not able to
7    consent to the public filing of all Irico documents containing potentially confidential
8    information. Irico has now been able to complete its review of the documents in the Motion
9    and hereby consents to the public filing of these materials. Accordingly, Irico has included a
10   proposed order denying the Motion with this submission.
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     Dated: September 6, 2023                        Respectfully submitted,
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14                                                   /s/ John M. Taladay
15
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      IRICO STATEMENT REGARDING IPP ADMIN. MOT. TO                               CASE NO. 07-CV-05944-JST
      CONSIDER SEALING (ECF NO. 6297)
                                                           1                                MDL NO. 1917
